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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                Case No. 22-mj-8338-BER


  IN RE:
  SEALED SEARCH WARRANT
  __________________________/

                                            ORDER

        This cause came before this Court on the Government=s Response Motion to

  Unseal. The Court being fully advised in the premises, it is hereby:

             ORDERED AND ADJUDGED that the Letter Motion to Unseal by Times Union

  (DE 4) is hereby DENIED in this matter.

        DONE AND ORDERED at West Palm Beach, Florida, this                  day of

  August 2022.



                                            __________________________________
                                            BRUCE REINHART
                                            UNITED STATES MAGISTRATE JUDGE
